 

Case 1:14-cV-01611-LO-.]FA Document 39 Filed 02/19/15 Page 1 of 1 Page|D# 121

AO 458 (Rev. U(:!U‘)) Appcarance nf"Counscl

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

 

 

B_Mg_mgms Manag_em@.m_(US) LLC, et a\. )
Pz’a."mff}" )
v. ) Case No. 1:14-cv-1611 (LOGFJFA)
Co);_Enternrisas. lnc., _e_t a|. )
De_;'%nr.-'m:.=‘ )
APPEARANCE OF COUNSEL
'1`0: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

BMG Hiqhts |`v‘|an_§gemem (US} LLQ and Hound Hf|| Music LP

WQW- '

` A'Iwmey 's signature

Date: M _

Pau__| _A._ngnari (\_)fSB #46§90)

P)'r`ntr:d name mud bar number

Stepioe & Johnson LLFl
1330 Connecticut Ave.. NW
Washinqton, DC 20036
Ada'ress

pgennari@eteptoe.com
E-mm`i' address

 

(202) 429-3000

T'rdepbone mm:ber

 

(202} 429-3902
FAX number

 

